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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                             Criminal No. 09-349(2) (DWF/SER)

                     Plaintiff,

v.                                                     ORDER AND MEMORANDUM

Mark S. Sutton,

                     Defendant.



Robert M. Lewis, Assistant United States Attorney, United States Attorney’s Office,
counsel for Plaintiff.

William M. Orth, Esq., Law Office of William M. Orth, counsel for Defendant.



       The above-entitled matter is before the Court upon the motion of Defendant

Mark S. Sutton (“Defendant”), for judgment of acquittal pursuant to Rule 29(c) of the

Federal Rules of Criminal Procedure or, alternatively, for a new trial, pursuant to Rule 33

of the Federal Rules of Criminal Procedure. (Doc. No. 147.) The Government opposes

Defendant’s motion in all respects.

       Based upon the written submissions and presentations of counsel, the Court having

reviewed the file in this matter, and the Court being otherwise duly advised in the

premises, the Court hereby enters the following:
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                                         ORDER

      1.       Defendant Mark S. Sutton’s motion for judgment of acquittal, pursuant to

Rule 29(c) of the Federal Rules of Criminal Procedure, (Doc. No. [147]), is hereby

DENIED.

      2.       Defendant Mark S. Sutton’s motion for a new trial, pursuant to Rule 33 of

the Federal Rules of Criminal Procedure, (Doc. No. [147]), is hereby DENIED.



Dated: May 13, 2011                       s/Donovan W. Frank
                                          DONOVAN W. FRANK
                                          United States District Judge


                                    MEMORANDUM

Introduction

      Defendant Mark S. Sutton went to trial pursuant to a three count indictment.

Count 1 of the indictment charged Defendant with the crime of Conspiracy to Commit

Mail Fraud and Wire Fraud. Specifically, the indictment asserted that from May 2000 to

about June 2008, Defendant knowingly conspired with at least one other person to

commit mail fraud or wire fraud. Count 1 of the indictment alleged that Defendant

knowingly conspired with at least one other person, Joseph Finney (“Finney”), to commit

mail fraud or wire fraud by raising money from investors and programs that the

Defendant and others promoted instead of investing the money, as promised, and spent

the money on themselves. Count 1 of the indictment included allegations that the


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Defendant and others created and used multiple corporate names and bank accounts,

concealed their personal receipt of investor funds, and concealed information from

investors that the investors would have found important.

       Count 2 alleged the crime of Money Laundering Conspiracy. Specifically, Count

2 of the indictment charged that the Defendant, from sometime prior to January 2, 2001 to

on or about July 22, 2005, conspired with at least one other person to commit money

laundering. The indictment specifically alleged that Defendant conspired with Finney

and others to engage in financial transactions involving the investors’ funds that were

illegal in one of three ways: the transactions involved more than $10,000 in funds from

the scheme; the transactions were designed to promote the scheme to defraud; or the

transactions were designed to conceal or disguise the location, source, ownership, or

control of the funds from the alleged scheme.

       Count 3 of the indictment charged the Defendant with the crime of Conspiracy to

Defraud the United States. Specifically, Count 3 of the indictment asserted that from on

or about November 1999 and continuing up to a time period including October 28, 2005,

the Defendant knowingly conspired with at least one other person, John Higginbotham

(“Higginbotham”), in hiding his assets from the IRS and to assist Higginbotham in a

filing with the government allegedly frivolous and obstructionist documents so that

Higginbotham could evade paying his taxes that have been due and owing since at least

1992 and 1993 when, admittedly, Defendant and Higginbotham did not meet until 1998.



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         The evidence presented at trial, when viewed in its proper context, establishes

beyond a reasonable doubt that Defendant committed the crimes set forth in Counts 1, 2,

and 3.

         Notwithstanding the Court’s skepticism of the way in which the examination of

Finney was handled to the extent he was never asked specifically what he told the

Defendant about the phoney and false monthly statements, Defendant received a fair trial

from a fair and impartial jury. Moreover, sufficient evidence exists to support the verdict

reached by the jury on Counts 1, 2, and 3 of the indictment. Therefore, the Court has

denied Defendant’s Rule 29(c) motion for judgment of acquittal and Rule 33 motion for a

new trial.

Sufficiency of the Evidence

         When considering a challenge to the sufficiency of the evidence to support a guilty

verdict, the Court must view the evidence in the light most favorable to the verdict and

accept, as established, all reasonable inferences supporting the verdict. See United States

v. Maggard, 156 F.3d 843, 846 (8th Cir. 1998), cert. denied sub nom. Maggard v. United

States, 119 S. Ct. 1094 (1999) and cert. denied, 119 S. Ct. 1372 (1999).

         A jury’s verdict will be overturned only when no reasonable jury could have found

defendant guilty beyond a reasonable doubt. United States v. Santos-Garcia, 313 F.3d

1073 (8th Cir. 2002). The evidence at trial, including the circumstantial inferences that

emanate from the evidence presented by the United States, establish, by proof beyond a

reasonable doubt, the guilt of the Defendant on Counts 1, 2, and 3.

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Counts 1 and 2

       When the evidence is viewed in the light most favorable to the Government,

including reasonable inferences supporting the verdicts reached, the evidence establishes

that Defendant participated in the fraud from the beginning when he signed up his first

investors in 2000 and chose not to disclose his commission structure. The jury had

critical credibility decisions to make. The jury rejected the Defendant’s testimony in

which he minimized his knowledge of high yield investments and kept repeating that all

he did was the paperwork. The irony behind Defendant’s asserted ignorance to high yield

investments is that Joseph Finney came across as the consummate con man, while on the

witness stand testifying, “I did not know much about it at the time,” referring to high

yield investment programs. Of course neither Defendant nor Finney informed the

investors that they knew little or nothing about high yield investments. This testimony of

ignorance and innocence, as asserted by Defendant, which was rejected by the jury, was

made in the context of FBI Special Agent Paul Jacobs’ testimony wherein he testified

there are no true high yield investment programs because these programs are, by their

very nature, fraudulent.

       Whether the eNvestclub was a scheme to defraud from the beginning or not, in the

words of Ken Tolberg–whose wife met Defendant at their church and then went to the

Defendant’s house for a 1-1 ½ hour meeting, at which a 100% return was promised–“It

sounded too good to be true.”



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       Much was made by the United States and the Defendant that Finney was either

found to be credible by the jury or, from the Defendant’s point of view, even Finney

believed that eNvestclub was legitimate, at least at the beginning. However, an equally

plausible view of the evidence, when viewed in the light most favorable to the verdict, is

that the jury concluded that simply because a consummate con man, like Finney, believed

something not to be a fraud, does not make it so, even if he asserted that he never planned

a fraud scheme at the beginning. An inescapable inference from the evidence, consistent

with the verdicts reached by the jury, is that Finney and Defendant both knew what to

disclose and what not to disclose to investors when both men knew nothing was being

invested the first six months while monthly commissions were being paid. Such

commissions were never disclosed to the investors, irrespective of what Finney did or did

not tell Defendant about the false and phoney monthly statements.

       Consequently, even though the Court continues to have lingering doubts about the

circumspect way in which the Government treated Finney by being careful not to ask him

precisely what he told Defendant, the inescapable inference, when the evidence is viewed

in the light most favorable to the Government, is that Joseph Finney, the Defendant, and

others, including Ronald Gruber, knew exactly the fraud that was going on and what not

to disclose to the investors. Defendant knew of the criminal charges and the fact that

Finney had pled guilty in South Carolina, but failed to disclose that fact, for obvious

reasons, to any of the investors. Thus, whether eNvestclub was originated or intended as

a Ponzi scheme from the very beginning, based upon the evidence before the Court, it

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was clear that it was a scheme to defraud, as found by the jury, close to its inception.

Even the most generous view of the evidence in Defendant’s favor suggests, at a

minimum, that from the very beginning, Defendant turned a blind eye to what was clearly

going on, as found by the jury. Based upon the evidence and the credibility

determinations by the jury, they saw the case for what it was. Defendant was sufficiently

concerned to start clandestinely taping Finney, and selectively failed to disclose key facts

to investors, knowing full well that the profits would cease and that investors would leave

or try to leave. As noted above, the jury had a credibility decision to make with respect to

the innocence proclaimed by Defendant and the way in which Finney minimized his

fraudulent intent and behavior. The verdict clearly establishes that the jury rejected

Defendant’s proclamations of ignorance and innocence, as well as his repeated claims

that he was simply a “dupe.”

       Consequently, when the evidence is examined in the light most favorable to the

prosecution and resolving any conflict in the evidence in favor of the jury’s verdict, the

Court finds and concludes that any reasonable jury could have found Defendant guilty

beyond a reasonable doubt of Counts 1 and 2 of the indictment.

Count 3

       The Court finds and concludes with respect to Count 3, Conspiracy to Defraud the

United States, that there was sufficient evidence to prove beyond a reasonable doubt the

guilt of Defendant of Count 3. Higginbotham met Defendant in the fall of 1998 at a time

when Higginbotham’s tax liability was $268,000. Admittedly, the tax liability had been

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due and owing and incurred in the tax years 1991 and 1992. And, as pointed out during

the trial and by defense counsel in its submissions before the Court, Higginbotham had

pled guilty before the Court in July 2007 to willful invasion of taxes pursuant to a plea

agreement that did in fact include a cooperation agreement to testify and cooperate

against Defendant. Moreover, Defendant was not charged with or convicted of

conspiracy to evade federal income tax at the time it was due in the years 1991 through

1993.

        The Court agrees with the Government and, more importantly, so did the jury, that

the Defendant reached an agreement or understanding with Higginbotham to help hide

Higginbotham’s assets from the IRS and to assist Higginbotham to file evasive,

obstructionist, frivolous, and misleading paperwork with the IRS. Defendant’s activities

ranged from creating bogus trust structures as a vehicle to hide assets of Higginbotham, to

putting personal property, as well as Higginbotham’s home, into a trust. In fact,

Defendant became one of the trustees. Defendant established a false lien on

Higginbotham’s vehicle with the sole purpose to shield it from the IRS. And, in the

words of Higginbotham, “The Defendant led me through the process to protect my assets

from creditors and the IRS.” While the Court may also have lingering doubts about

Higginbotham’s credibility and his desire to reap the benefits of the plea agreement, the

jury, when the evidence is viewed in the light most favorable to the verdict, clearly found

Higginbotham’s testimony credible, and the Court concludes that there was a factual basis

in the record and sufficient evidence for the jury to do so.

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       It may well be that Higginbotham came across as a true con man, much like

Finney, but without the depth of experience of Finney, and without Finney’s

salesmanship skills. However, when the evidence is viewed in the light most favorable to

the verdict, a jury’s conclusion that Defendant was working with, conspiring with, and

assisting individuals like Finney and Higginbotham, when it was obvious to any

reasonable person what each was doing, is entirely consistent with the guilty verdicts

reached in this trial.

Defendant’s Motion for a New Trial

       The verdict reached by the jury in this case on all three counts was not contrary to

the greater weight of the evidence. The Court was admittedly skeptical, if not critical, of

the lack of knowledge by the IRS of the tax status of the Defendant during the trial,

especially when there was no allegation of any irregularity in Defendant’s individual tax

situation. In fact, the lead agent testified at trial that he was unaware of the Defendant’s

individual tax status.

       However, the conclusion the Court reaches, to which the Court is well aware that

defense counsel takes strenuous exception, given the argument during the trial and

post-trial submissions, is that not only was there no prejudice in the joinder of Count 3 to

Counts 1 and 2, but, if anything, given the tax status of the Defendant, Count 3 in many

respects acted almost as a mitigating circumstance, rather than a prejudicial issue spilling

onto Counts 1 and 2. The nexus, of course, even assuming the legitimate or unknown tax

status of the Defendant, are the similarities between Higginbotham’s involvement in

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Sugar Bay Trust and the other so-called high yield investment programs Finney was

involved in. In the eyes of the jury, both Higginbotham and Finney likely came across as

con men, with or without their connection to a church or the apparent true belief in their

cause.

         Based upon the evidence, no miscarriage of justice will occur if the jury’s verdicts

are allowed to stand. The Court accepts that the decision to grant or deny a new trial is a

matter of discretion with the Court and that there are indeed instances of manifest

injustice that require the granting of such motions. See United States v. Lincoln, 630 F.2d

1313 (8th Cir. 1980); United States v. Lacey, 219 F.3d 779 (8th Cir. 2000); United States

v. Espinosa, 300 F.3d 981 (8th Cir. 2002). The case before the Court is not such a case.

The interests of justice do not require this Court to vacate any of the verdicts rendered in

this case by the jury that, in the Court’s view, fairly and impartially evaluated the

evidence.

Conclusion

         No one can doubt that a judge must exercise constitutional vigilance in every

criminal trial so that the interests of justice are served, regardless of the verdicts. After all

is said and done, however, neither the proper exercise of this Court’s discretion nor the

interests of justice obligate this Court to grant a new trial pursuant to Rule 33 of the

Federal Rules of Criminal Procedure. Nor do the interests of justice require this Court to

vacate the verdicts rendered in this case by the jury.



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       For the reasons stated, the Court respectfully denies Defendant’s motions for

judgment of acquittal or for a new trial.

                                            D.W.F.




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